                                                      U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      October 23, 2020

By ECF
The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

              Re:   United States v. Sadr, 18 Cr. 224 (AJN)

Dear Judge Nathan,

        I respectfully request that the Court accept my October 16, 2020 declaration and the
accompanying documents, which include emails and other private communications, under seal for
review in camera pending the Court’s determination of the issues identified in its September 16,
2020 order.1 This approach is consistent with the approach taken in disciplinary proceedings,
which are directly analogous to the current proceedings, as well as the approach in sanctions
proceedings. It is particularly appropriate where, as here, the criminal charges have been dismissed
and the Court has retained jurisdiction for the sole purpose of determining whether any prosecutor
acted in bad faith.

         Fact finding inquiries like these are routinely conducted in camera. For example, matters
and proceedings before the Second Circuit’s Committee on Admissions and Grievances are
presumptively confidential. See Second Circuit Local Rule 46.2(b)(6). Even after public
dispositions, the Second Circuit frequently makes a “request” that “all documents from the record
of this proceeding . . . remain confidential to the extent circumstances allow.” E.g., In re Stafford,
789 F. App’x 281, 286 n.2 (2d Cir. 2019); In re D’Amico, 729 F. App’x 62, 67 n.4 (2d Cir. 2018);
see also In re Gell, 813 F. App’x 706, 710 n.3 (2d Cir. 2020) (“Because the Committee’s report
and other documents in the record disclose medical and other personal information, the report and
remainder of the record will remain confidential.”). Matters and proceedings before New York’s
Attorney Grievance Committees are also presumptively confidential. See 22 N.Y. Comp. Codes
R. & Regs. tit. 22, § 1240.18(a)-(c); see also N.Y. Judicial Law § 90(10). The New York Court
of Appeals has observed that “our statutes and case law reflect a policy of keeping disciplinary
proceedings involving licensed professionals confidential until they are finally
determined.” Johnson Newspaper Corp. v. Melino, 77 N.Y.2d 1, 10-11 (N.Y. 1990); see also id.
at 7-8 (affirming Appellate Division holding that “there is no First Amendment right of access”

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  In light of the Court’s September 16, 2020 order inviting defense counsel for Ali Sadr to respond
to the Government’s submissions, I have provided defense counsel with copies of all of the
documents submitted to the Court.
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because “there is no suggestion that professional disciplinary hearings have any tradition of being
open to the public and no showing that the public access plays a significant positive role in the
functioning of the proceedings” (internal quotation marks omitted)). Indeed, filings in proceedings
before the District’s Committee on Grievances, see Local Civil Rule 1.5, appear to be maintained
under seal on miscellaneous docket M2-238. See, e.g., United States v. Grimm, No. 16-3267 (2d
Cir. 2016) (Dkt. 12-2) (reflecting sealed entries related to SDNY disciplinary proceedings on the
“Miscellaneous Tracking System”).

        Consistent with the authorities above, courts have reviewed evidentiary submissions in
camera prior to making findings related to sanctions. See Mourabit v. Klein, 816 F. App’x 574
n.2 (2d Cir. 2020) (describing district court’s decision to “reverse[] the imposition of sanctions,
after conducting an in camera review of emails between counsel”); McCullough v. World
Wrestling Entertainment, Inc., No. 15 Civ. 1074, 2018 WL 4425977, at *1 (D. Conn. Sept. 17,
2018) (describing in camera review of affidavits submitted by counsel in response to specific
questions from the court); In re Terrorist Attacks on September 11, 2001, No. 03 MD 1570 (GBD)
(SN), 2018 WL 4184566, at *1 (S.D.N.Y. Aug. 30, 2018) (describing in camera review of
documents in connection with sanctions determination); Xixiang Yang v. Zhiyu Luo, No. 17 Civ.
2577 (JSR), 2018 WL 1363498, at *3 n.4 (S.D.N.Y. Feb. 23, 2018) (“It should also be noted that
at an earlier stage of these proceedings the Court conducted an in camera evidentiary hearing to
determine whether plaintiffs’ counsel had engaged in egregious conduct that warranted reference
to the Court’s Grievance Committee. That determination remains sub judice, pending entry of
final judgment in this case.”); Martin v. Giordano, 185 F. Supp. 3d 339, 359 (E.D.N.Y. 2016) (“To
test the validity of that claim, this court ordered plaintiff to provide certain information about the
circumstances surrounding his dismissal to the court ex parte for in camera inspection.”); ACLU
v. Dep’t of Defense, 827 F. Supp. 2d 217, 228 (S.D.N.Y. 2011) (describing ex parte and in camera
review of special prosecutor’s declaration in contempt proceedings).2

       For the foregoing reasons, I respectfully request that the Court accept my October 16, 2020
declaration and the accompanying documents under seal for in camera review. Per the Court’s
October 19, 2020 order, I do not believe that any portion of this letter requires sealing or redaction.

                                               Respectfully,



                                               _____________________________
                                               Stephanie Lake
                                               Assistant United States Attorney
                                               (212) 637-1066

cc: Defense counsel (by ECF)


2
 Sealing and in camera review is also consistent with the sanctions and related proceedings in
United States v. Stevens, No. 08 Cr. 231 (D.D.C.) and In re Special Proceedings, No. 09 Misc. 198
(D.D.C.).
